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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 18-20957-CIV-ALTONAGA/Goodman

  RUBY SOSA,

          Plaintiff,
  v.

  CARNIVAL CORPORATION,

        Defendant.
  _______________________________/

                                             ORDER

          THIS CAUSE came before the Court at a December 13, 2018 Hearing [ECF No. 92] on

  Defendant, Carnival Corporation’s Daubert Motion to Strike [ECF No. 60] and Plaintiff, Ruby

  Sosa’s Motion to Strike Defendant’s Experts [ECF No. 62]. For the reasons stated in open court,

  it is

          ORDERED AND ADJUDGED that the Motions [ECF Nos. 60, 62] are DENIED.

          DONE AND ORDERED in Miami, Florida, this 13th day of December, 2018.



                                                        _________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE

  cc:     counsel of record
